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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JUSTIN L. LEE
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700

 5 Attorneys for Plaintiff
   United States of America
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 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                   CASE NO. 2:15-CR-00131-TLN
12                                  Plaintiff,   STIPULATION AND ORDER
                                                 TO SET BRIEFING SCHEDULE
13                           v.
                                                 DATE:
14   EDGAR EDUARDO HERRERA.,                     TIME:
                                                 COURT: Hon. Troy L. Nunley
15                                  Defendant.
16

17                        STIPULATION TO SET BRIEFING SCHEDULE

18         On September 4, 2020, the defendant filed an Emergency Motion to Reduce

19 Sentence under 18 U.S.C. § 3582(c)(1)(A)(i). (Doc. 477.) By this stipulation, the parties

20 jointly request that the Court set the following briefing schedule:

21         1. The United States’s response shall be filed by September 21, 2020.

22         2. The defendant’s reply shall be filed by September 28, 2020.

23         IT IS SO STIPULATED.

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      STIPULATED REQUEST FOR BRIEFING SCHEDULE   1
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1    Dated: September 10, 2020                         MCGREGOR W. SCOTT
                                                       United States Attorney
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3                                                      /s/ JUSTIN L. LEE
                                                       JUSTIN L. LEE
4                                                      Assistant United States Attorney
5

6    Dated: September 10, 2020                         /s/ SCOTT N. CAMERON
                                                       SCOTT N. CAMERON
7                                                      Counsel for Defendant
                                                       Edgar Eduardo Herrera
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                                                 ORDER
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           Based on the request of the parties, the Court adopts the following briefing
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     schedule. The United States shall file its response to the defendant’s motion by
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     September 21, 2020. The defendant shall file any reply by September 28, 2020.
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           IT IS SO ORDERED this 10th day of September, 2020.
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18                                                         Troy L. Nunley
                                                           United States District Judge
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      STIPULATED REQUEST FOR BRIEFING SCHEDULE     2
